Case 18-31092          Doc 9       Filed 11/06/18 Entered 11/06/18 14:25:34                        Desc Main
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                CHICAGO DIVISION


                                                   )
 In re                                             )     Chapter 7
                                                   )
 DERRICK DAMON DICKERSON,                          )     Case No. 18-31092
 Debtor(s)                                         )
                                                   )     BANKRUPTCY JUDGE
                                                   )     DONALD R CASSLING




                   REQUEST OF PRA RECEIVABLES MANAGEMENT, LLC
             FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)

PLEASE TAKE NOTICE that PRA Receivables Management, LLC, as authorized agent for Synchrony

Bank (Sam's Club®PersonalCredit [Last four digit of account:1601]), a creditor in the above-captioned

chapter 7 case, requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure

(the Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code, 11

U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required to be given

and all papers served or required to be served in this case be also given to and served, whether

electronically or otherwise, on:
             Synchrony Bank
             c/o PRA Receivables Management, LLC
             PO Box 41021
             Norfolk, VA 23541
             Telephone: (877) 829-8298
             Facsimile: (757) 351-3257
             E-mail: claims@recoverycorp.com


Dated: Norfolk, Virginia
November 6, 2018
                                                       By: /s/ Valerie Smith
                                                       Valerie Smith
                                                       c/o PRA Receivables Management, LLC
                                                       Senior Manager
                                                       PO Box 41021
                                                       Norfolk, VA 23541
                                                       (877) 829-8298

Assignee Creditor: Sam's Club®PersonalCredit [Last four digit of account:1601]
